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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    AMYRIS, INC., et al.,                                  Case No. 23-11131 (TMH)

                     Debtors1.                             (Jointly Administered.)

                                                           Related Dkt. Nos. 892, 893, 897 & 1112

                        OBJECTION OF 10-11 CLERKENWELL GREEN
                    LIMITED TO CONFIRMATION OF SECOND AMENDED
                     JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
                  AMYRIS, INC. AND ITS AFFILIATED DEBTORS, AS MODIFIED

              10-11 Clerkenwell Green Limited (“Clerkenwell”), as holder of certain claims against

Amyris, Inc., one of the debtors and debtors-in-possession in the above captioned jointly

administered proceeding (the “Debtor”), by and through its undersigned counsel, hereby objects

(this “Objection”), to confirmation of the Second Amended Joint Chapter 11 Plan of

Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified [D.I. 892] (as amended or

modified from time to time, the “Plan”). In support hereof, Clerkenwell respectfully states as

follows.2

                                     PRELIMINARY STATEMENT

             1.     Clerkenwell is the owner and landlord of the building located at 10-11 Clerkenwell

Green, London, England. Both pre-petition and post-petition, the building has been occupied by

the Debtor ‘s subsidiaries, Amyris UK Trading Limited, Beauty Labs International Limited, and



1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place
of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100, Emeryville,
CA 94608.
2
 Capitalized terms not otherwise defined herein shall have the same meaning ascribed to them in the Plan and
Disclosure Statement.
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MG Empower Limited (“MG”)3 pursuant to a lease dated February 15, 2022, among Clerkenwell,

MG, and the Debtor (the “Lease”). As part of the Lease, Debtor provided Clerkenwell with a

guarantee of all obligations of MG under the Lease (“Guarantee”). In light of the Guarantee,

Clerkenwell timely filed a proof of claim for a general unsecured claim in the amount of

$15,722,174, the maximum amount which could be owed pursuant to the Guarantee [Claims

Docket No. 531] (the “POC”).

         2.       On December 26, 2023, MG failed to pay its rent when due, giving rise to a claim

pursuant to the Guarantee. Accordingly, since this claim occurred post-petition, Clerkenwell now

has an administrative claim in the amount of $397,388.08 for the unpaid rent. See Fin. of Am. LLC

v. Mortg. Winddown LLC (In re Ditech Holding Corp), 630 F. Supp. 3d 554 (S.D.N.Y. 2022). In

January 2024, Clerkenwell forfeited the lease4 in accordance with British law. As a result of the

post-petition forfeiture, Clerkenwell has an additional administrative claim against the Debtor of

approximately $2,500,000.

         3.       Despite filing a timely proof of claim, Clerkenwell was not served with the Notice

of (A) Hearing to Consider Confirmation of Debtors’ Chapter 11 Plan; (B) Deadline for Voting to

Accept or Reject Plan; (C) Debtors’ Releases and Third-Party Released Opt Out Election; and

(E) (sic)Related Matters, nor with the Notice of Filing of Revised Order (I) Approving the Second

Amended Disclosure Statement; (II) Scheduling Confirmation Hearing; (III) Approving Form and

Manner of Notice of Confirmation Hearing; (IV Establishing Procedures for Solicitation and

Tabulation of Votes to Accept or Reject Plan, Including (A) Approving Form and Content of


3
 Clerkenwell believes that MG was sold by the Debtor shortly before the filing; however, on the current organization
chart attached as an exhibit to the Plan, it is shown as a subsidiary. MG is still in the building; whereas, Amyris UK
Trading Limited and Beauty Labs International Limited relocated at some point during the Debtor's chapter 11 case.
4
  Forfeiture is a procedure pursuant to British law by which the landlord can terminate the lease for breach and
peaceably retake possession of the building, changing the locks thereon. The remainder of the lease payments become
immediately due and payable.



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Solicitation Materials; (B) Establishing Record Date and Approving Procedures for Distribution

of Solicitation Materials; (C) Approving Forms of Ballots; (D) Establishing Voting Deadline for

Receipt of Ballots and (E) Approving Procedures for Vote Tabulation’s; (V) Approving Form and

Manner of Notice of Plan Releases; (VI) Establishing Voting Deadline for Filing Objections to

Confirmation of Plan; and (VII) Granting Related Relief [D.I. 854]. See Affidavits of Service,

[D.I. 1049 and 898, respectively]. Similarly, although there is no certificate of service one can

find concerning ballots, Clerkenwell has no record of receiving a ballot nor any notice of how to

opt out of the onerous third-party releases proposed in the Plan. Clerkenwell suspects it is not the

only party who is puzzling over how to opt out of the third-party releases, as this mechanism

appears deliberately vague in the Plan.

       4.      Indeed, although Clerkenwell did not get timely notice of the Plan, once it

discovered an amended plan had been filed and reviewed same, it was struck by what appeared to

be the deliberate opacity of the Plan. Not only can one not tell how to opt out of the third-party

non-consensual releases if one did not receive a ballot, but also, there is very little information on

significant points in the Plan. Neither the Plan nor the disclosure statement has so much as a

summary of significant documents. The real guts of the Plan are contained, instead, in the Plan

Supplement, which is hundreds of pages of dense material which was only filed nine days ago.

See D.I. 1112. One cannot look at the Plan and Disclosure Statement and understand how the Plan

is being funded, nor are there meaningful projections or a Sources and Uses table to help with this.

Throughout the Plan, information is either missing or obfuscated. For example, in order to

determine the amount of funding necessary at confirmation, one first has to look at the definition

of “Plan Effective Date Funding Schedule” in the Plan. This in turn, sends one to the definition of

“Approved Budget”, which in turn sends one to the debtor-in-possession financing documents,




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where one has to wade through five amendments before finding the Plan Effective Date Funding

Schedule. It would have been a lot easier to simply say the docket number where the Schedule

could be found, or reproduce it. But this is typical of the difficulty in trying to understand the Plan.

As a result of information being so scarce and opaque, the Debtors have failed to carry their burden

of establishing that the plan is feasible and not likely to be followed by the need for further

reorganization, and the Plan cannot be confirmed unless and until this is remedied.

       5.      The Plan also includes exceptionally broad nonconsensual third-party releases

which should not be approved. As shown below, not only are they impermissible as a matter of

law, but these particular releases and accompanying injunctions and exculpation provisions are

exceptionally broad. In the case of Clerkenwell, one could argue that these provisions prevent

Clerkenwell from calling on its guarantee post-Confirmation, even though, the law is clear that a

guarantee rides through the confirmation of a plan. See, Reinhart Foodservice LLC v Schlundt,

646 B.R. 478, 487 (E.D. Wis. 2022), appeal dismissed, 2023 U.S. App. LEXIS 31468 (7th Cir.

Apr. 17, 2023). For its part, Clerkenwell may well have causes of action against principles of MG

who are no longer with the Debtor and which causes of action would not affect the Debtors, but

such parties are all arguably released without Clerkenwell’s consent as “Related Parties” due to

the broad definitions contained in the Plan. These provisions are clearly unacceptable.

       6.      The Debtors also wish to get all of the benefits of substantive consolidation without

actually substantively consolidating. This is impermissible as a matter of law.

       7.      Plan proponents bear the burden of proving to the Court, by a preponderance of the

evidence standard, that a proposed plan satisfies every applicable confirmation requirement under

Bankruptcy Code sections 1129(a) and (b). See, e.g., In re Armstrong World Indus., Inc., 348 B.R.

111, 120 (D. Del. 2006); In re Exide Techs., 303 B.R. 48, 58 (Bankr. D. Del. 2003). This burden




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is a heavy one, and requires careful consideration of each of the relevant inquiries articulated by

Bankruptcy Code section 1129. See In re Vita Corp., 380 B.R. 525, 528 (C.D. Ill. 2008). This is

especially so where, as here, the debtor acts as the plan proponent. See, e.g., Everett v. Perez (In

re Perez), 30 F.3d 1209, 1214 n.5 (9th Cir. 1994) (“The burden of proposing a plan that satisfies

the requirement of the code always falls on the party proposing it, but it falls particularly heavily

on the debtor-in-possession or trustee since they stand in a fiduciary relationship to the estate’s

creditors.”)

       8.       As discussed more fully below, the Debtors cannot satisfy these burdens.

Accordingly, the Court should not approve the Plan.

                                          ARGUMENT

I.     Debtors Have Failed to Demonstrate that the Plan is Feasible.

        A. There is Insufficient Information for the Court to Make a Finding that the Plan
           is Feasible.

       9.       Bankruptcy Code §1129(a)(11) requires this Court to find that a plan is feasible.

Specifically, this Court must determine that: “Confirmation of the plan is not likely to be followed

by the liquidation, or the need for further financial reorganization, of the debtor or any successor

to the debtor under the plan, unless such liquidation or reorganization is proposed in the plan.” 11

U.S.C. §1129(a)(11). The Debtors have utterly failed to demonstrate feasibility.

       10.      Neither the Plan nor the Disclosure Statement indicates how the payments due

under the Plan on the Effective Date are to be funded. Originally, it was proposed that it would be

funded by the Net Proceeds from sales of the Debtors’ assets, and this is what the Plan provides.

However, since the gross proceeds from the sales are substantially less than the amounts necessary

to fund the Plan, one is left to wonder where the money is coming from. There is no Sources and

Uses table provided in the Plan or Disclosure Statement as would be typical to allow one to



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determine that there is sufficient funds on hand to fund the plan payments. Creditors and this Court

are left in the dark as to where the tens of millions of dollars of funding for payments due on the

Effective Date are coming from. The Disclosure Statement provides only that “the Debtors and the

Reorganized Debtors, as applicable, shall fund distributions under the Plan with (a) Net Proceeds

as provided for in the Plan, (b) the New Common Stock, (c) proceeds from the Exit First Lien

Facility, and (d) Cash on hand, subject to Plan Effective Date Funding.” Disclosure statement and

§3.B.8 [D. I. 893]. One must therefore assume that the difference between the sale proceeds and

what is needed will come from the Exit First Lien Facility (the “Exit Facility”), or from cash on

hand. The problem with this is that the cash available from the Exit Facility cannot exceed

$27,400,000, Plan at §I.A.158, and the cash on hand is projected to be negative. See Plan Effective

Date Funding Schedule [Docket No. 900-1]. Given all the payments discussed in the Plan, this

would seem to leave a substantial shortfall. One is left to wonder if the Exit Facility is used to fund

plan payments, which would require it to be in excess of $27,400,000 in violation of the Plan, will

there be sufficient funds left in the Facility to fund operations? The Plan as written seems to assume

that the sale proceeds will pay for the plan payments, and the Exit Facility will be available for

operations. Nor can one determine from the Plan whether, if more of the Exit Facility is used for

plan payments than anticipated (which would require a waiver of one of the Plan’s preconditions

to confirmation), will there be sufficient working capital for the Debtor to achieve its projected

income? There is no telling from the information provided.

       11.     In fairness, the Debtors are not required to guarantee that the Plan will succeed.

“Thus, the court ‘only must find that the plan presents a workable scheme or organization and

operation from which there may be reasonable expectation of success.’” In re Mallinckrodt PLC,

639 B.R. 837, 894 (Bankr. D. Del. 2022) (quoting In re W. R. Grace & Co., 475 B.R. 34, 115 (D.




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Del. 2012). But in the instant case, the Debtors have presented no scheme whatsoever. There is no

business plan or discussion of future operations. The so-called financial projections are so

summary and incomplete as to be risible. They do not show how the Exit Facility is to be used,

nor do they show any debt service. They are so conclusory that one cannot test them to determine

whether or not they are feasible, especially in the absence of any accompanying business plan.

Although the Debtors tell us that the projections “reflect numerous assumptions” and “were

prepared using multiple sources of detailed information on the Company’s operations”, the

Debtors failed to provide any of the numerous assumptions or detailed information. Perhaps most

significantly, what little information there is shows a shortfall in the operating funds in year one

of $88 million, and a shortfall in year two of $27 million before debt service. No explanation is

offered as to how the Debtors can survive such extreme shortfalls. Based on the paltry information

provided, and the absence of any business plan or workable scheme whatsoever, this Court simply

cannot conclude that the Plan is feasible or not likely to be followed by a need for further

reorganization.

       12.     The Mallinckrodt case gives several relevant factors for the court to consider in

deciding whether a plan is feasible. These include the adequacy of the debtor’s capital structure,

the earning power of the business, general economic conditions, the ability of management, the

probability of the continuation of the same management, and any other related matters which bear

on the prospect of a sufficiently successful operation. Mallinckrodt, 639 B.R. at 894 (quoting In

re Trigona, 2009 Bankr. LEXIS 5545, at *9 (Bankr. W.D. Pa. Jul. 24, 2009)). Looking at these

factors, one can see that this Court has no basis whatsoever for making a determination that the

Plan is feasible. Although the Disclosure Statement provides some limited information on the

Debtors’ prepetition capital structure, the Debtors’ post-Confirmation capital structure is not




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addressed at all, and is indeed difficult to discern from the limited information in the Plan and

Disclosure Statement. Similarly, no information is provided as to the earning power of the

business, nor economic conditions. Nor can this Court take into consideration the ability of

management, since management is not identified. Neither the officers nor the new CEO are

identified in the Plan or Disclosure Statement. See Disclosure Statement, section 3. B. 15. [D.I.

893]. As to the directors, the Plan Supplement identifies board members only “to the extent

known”. See Plan Supplement, Exhibit O [D.I. 1112]. It is notable that this lack of information

violates Bankruptcy Code § 1129(a)(5)(A)(i), which requires the plan proponent to disclose the

identity and affiliations of any individual proposed to serve after confirmation of the plan as a

director or officer. As to the probability of the continuation of the same management, that is not

discussed other than to refer to a potential new CEO, without identifying such person. In short,

this Court simply has not been provided with sufficient information to make a determination that

the plan is feasible and not likely to be followed by a need for further reorganization. What little

information has been provided raises more questions than it answers.

        B. The Debtors Have Not Shown that They Can Pay Administrative Claims.

       13.     As an administrative claimant, Clerkenwell is particularly concerned that the Plan

is not feasible because it fails to comply with Bankruptcy Code § 1129(a)(9)(A), which requires

all administrative claims to be paid in full on the Effective Date. One notes at the outset that the

Administrative Claims Bar date is not until 30 days after Plan confirmation. Accordingly, it is

impossible to know at this date the amount of the administrative claims, and thus whether the

Debtors have sufficient means to pay such claims. In this regard, it is important to note that a

precondition to confirmation of the Plan is that Allowed Administrative Claims shall not exceed

the amount set forth in the Plan Effective Date Funding Schedule, which is $58,200,000. See Plan




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§ I. A. 159 [D.I. 893-1]. Currently, the Plan Effective Date Funding Schedule is at the very max

of $58.2 million, but there are items missing. See Plan Effective Date Funding Schedule [D.I. 900–

1. For example, the administrative claim of Clerkenwell, which is approximately $2.5 million, is

not included in the administrative claims budget. While the Debtor has indicated it will object to

Clerkenwell’s claim, it cannot just assume it will succeed and not provide any ability to pay such

administrative claim. For this reason alone, the Plan cannot be confirmed because it will not meet

its precondition to confirmation of not exceeding the amount set forth in the Plan Effective Date

Funding Schedule. Clerkenwell aside, under the current Plan, Debtors have no ability to pay any

administrative claim not anticipated in the Plan Effective Date Funding Schedule. Plan, id. Thus,

if even one administrative claim comes out of the woodwork unexpectedly, the Debtors will have

no ability to pay it, thus violating Bankruptcy Code § 1129(a)(9)(A). And it is highly likely, since

the Administrative Claims Bar Date is not until 30 days after the Effective Date, that there will be

some unexpected claims, not the least of which is Clerkenwell’s administrative claims totaling

approximately $2.5 million. Since the Debtors, who do not even know the final amount of allowed

administrative claims, cannot demonstrate the ability to pay those claims, the Plan is simply not

feasible.

II.     The Plan Impermissibly Provides for Non-Consensual Releases.

        14.    Clerkenwell joins and adopts the (i) Objection of the United States Trustee to

Confirmation of Second Amended Joint Chapter 11 Plan of Reorganization (the “US Trustee

Objection”) [D.I. 1154] and (ii) the Limited Objection of the U.S. Securities and Exchange

Commission to Confirmation of the Debtors’ Second Amended Joint Plan of Reorganization (the

“SEC Objection”) [D.I. 1150], which are deemed fully incorporated herein by reference as if fully




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set forth herein. (The US Trustee Objection and SEC Objection shall be collectively referred to as

the “Filed Objections” ).

         15.     In addition to the arguments raised in the Filed Objections, Clerkenwell also states

the following in further support of its argument that the non-consensual releases which the Debtors

seek to impose on the creditors and parties in interest in this case, are impermissible and improper.

         16.     Non-consensual third-party releases may only be approved when a debtor puts forth

specific factual evidence establishing that the releases are fair and necessary. See In re Millennium

Lab Holdings II, LLC., 945 F.3d 126, 139 (3d Cir 2019). (“The hallmarks of permissible non-

consensual releases [are] fairness, the necessity to the reorganization, and specific factual findings

to support these conclusions.” (quoting Gillman v. Cont’l Airlines (In re Cont’l Airlines), 203 F.3d

203, 214 (3d Cir. 2000)). In addition to having to be fair and necessary, non-consensual third-party

releases are only appropriate when cases present “exceptional facts”. Id. at 129. In the Third

Circuit, section 105(a) of the Bankruptcy Code provides courts with the power to order non-

consensual third-party releases only when the fairness and necessity standards are met and when

exceptional facts exist. See In re Glob. Indus. Tech., Inc., 645 F.3d 201, 205 (3d Cir. 2011); In re

Millennium Lab Holdings II, LLC., 591 B.R. 559, 584 (D. Del 2018), aff’d 945 F.3d 126 (3d Cir.

2019).

         17.     A non-consensual third-party release is considered fair and reasonable if

consideration is given in exchange for the release. See United Artist Theater Co. v. Walton, 315

F.3d 217, 227 (3d Cir. 2000) (citing Cont’l, 203 F.3d at 214-15); In re Genesis Health Ventures,

Inc., 266 B.R. 591, 607-08 (Bankr. D. Del. 2001). In this case, there is no way for creditors to

assess whether fair consideration is being provided.




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       18.     The Plan and Disclosure Statement contain no meaningful information about the

estate claims and causes of action being released, or the results of the multiple investigations being

conducted. The Debtors have produced a report which has not been disclosed to any party other

than the Creditors’ Committee and an “independent director.” Without the disclosure of the

contents of these reports, the process lacks the appearance of integrity and openness. Additionally,

upon information and belief, the investigations are ongoing. It makes no sense for creditors and

parties in interest to be required to make a decision about whether to release claims against third

parties, when they have no idea what claims they are releasing, and the value of these claims.

Stakeholders, at a minimum, must have an understanding of the claims, their strengths and

weaknesses and potential recoveries. In re Oneida Motor Freight, Inc., 848 F.2d 414, 417 (3d Cir.

1988) (“The importance of full disclosure is underlay by reliance placed upon the disclosure

statement by creditors and the court. Given this reliance, we cannot over emphasize the debtor’s

obligation to provide sufficient data to satisfy the Code standard of ‘adequate information.’”); In

re Lower Bucks Hosp., 488 B.R. 303, 321 (Bankr. E.D. Pa. 2013), aff’d 571 Fed App’x 139 (3d

Cir. 2014) (denying approval of disclosure statement because it “did not provide… information

about the merits or value of potential claims… Or the class action they would be relinquishing.”)

       19.     Additionally, the Plan and Disclosure Statement do not specifically identify who is

receiving a Third-Party Release and how much each release party is contributing to the

reorganization. The Debtors do provide a list that goes well beyond Foris and the DIP Lender (who

are the only entities providing any consideration), but the list only sets forth categories of parties

and does not specify any individuals. Moreover, there is no explanation why releases are necessary

to the reorganization and who made the decision to authorize them. Without more information,




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stakeholders should not be forced to make a decision as to whether to support the proposed Plan

or to opt out.

        20.      Similar to the Plan’s impermissible nonconsensual third-party releases, the Plan

also provides exculpation that is impermissibly broad. At page 72, the Plan states:

                 Except as otherwise specifically provided in the Plan or the
                 Confirmation Order, no Exculpted Party shall have or incur liability
                 for, and each Exculpated Party shall be released and exculpated
                 from any claims and Causes of Action for any claim related to any
                 act or omission in connection with, relating to, or arising out of, the
                 Chapter 11 Cases, the formulation, preparation, dissemination,
                 negotiation, filing, or termination of prepetition transactions
                 (including with respect to the Debt Documents), the Disclosure
                 Statement, the DIP Facility, the Plan, the Plan Supplement, the Exit
                 First Lien Facility Documents, or any Restructuring Transaction,
                 contract, instrument, release or other agreement or document
                 (including any legal opinion requested by any Entity regarding any
                 transaction, contract, instrument, document, or other agreement
                 contemplated by the Plan or the reliance by any Released Party on
                 the Plan or the Confirmation Order in lieu of such legal opinion)
                 created or entered into in connection with the Disclosure Statement,
                 the DIP Facility, the Plan, the Plan Supplement, the Exit First Lien
                 Facility, the filing of the Chapter 11 Cases, the pursuit of
                 Confirmation, the pursuit of Consummation, the administration and
                 implementation of the Plan, including the issuance or distribution of
                 securities pursuant to the Plan, or the distribution of property under
                 the Plan or any other related agreement, or upon any other related
                 act or omission, transaction, agreement, event, or other occurrence,
                 except for claims related to any act or omission that is determined
                 in a Final Order by a court of competent jurisdiction to have
                 constituted actual fraud, willful misconduct, or gross negligence, but
                 in all respects such Entities shall be entitled to reasonably rely upon
                 the advice of counsel with respect to their duties and responsibilities
                 pursuant to the Plan.

(Emphasis Added). The above exculpation provision not only exculpates the Exculpated Parties from acts

during the Bankruptcy Cases, but exculpates the Exculpated Parties for acts performed prior to the filing of

these bankruptcy cases. Clerkenwell submits that the Exculpated Parties are only entitled to be exculpated

for acts performed during the Bankruptcy Case and the Debtors attempt to obtain broader exculpation is

improper.




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        21.         Likewise, the Plan Injunction provision contained on page 67 and page 68, and the Direct

Claims Injunction provision on page 68 of the Plan are also impermissibly overbroad. The Plan Injunction

provision states:

                    Except as otherwise expressly provided in the Plan or the
                    Confirmation Order or for obligations or distributions issued or
                    required to be paid pursuant to the Plan or the Confirmation Order,
                    and separate and apart from the Direct Claims Injunction, all
                    Entities who have held, hold, or may hold the Released Claims
                    are permanently enjoined from and after the Effective Date, from
                    taking any of the following actions against, as applicable, the
                    Debtors, the Reorganized Debtors, the Exculpated Parties, or
                    the Released Parties: (a) commencing or continuing in any manner
                    any action, suit, or other proceeding of any kind on account of or in
                    connection with or with respect to any Released Claims; (b)
                    enforcing, attaching, collecting, or recovering by any manner or
                    means any judgment, award, decree, or order against such Entities
                    on account of or in connection with or with respect to any Released
                    Claims; (c) creating, perfecting, or enforcing any lien or
                    encumbrance of any kind against such Entities or the Estates of such
                    Entities on account of or in connection with or with respect to any
                    Released Claims; (d) asserting any right of setoff, subrogation, or
                    recoupment of any kind against any obligation due from such
                    Entities or against the property or the Estates of such Entities on
                    account of or in connection with or with respect to any Released
                    Claims unless such Entity has Filed a motion requesting the right to
                    perform such setoff on or before the Effective Date, and
                    notwithstanding an indication of a Claim or Interest or otherwise
                    that such Entity asserts, has, or intends to preserve any right of setoff
                    pursuant to applicable Law or otherwise; and (e) commencing or
                    continuing in any manner any action or other proceeding of any kind
                    on account of or in connection with or with respect to any Released
                    Claims released or settled pursuant to the Plan.

                    Upon entry of the Confirmation Order, all Holders of Claims and
                    Interests and their respective current and former employees, agents,
                    officers, directors, managers, principals, and direct and indirect
                    Affiliates, in their capacities as such, shall be enjoined from taking
                    any actions to interfere with the implementation or Consummation
                    of the Plan. Each Holder of an Allowed Claim or Allowed
                    Interest, as applicable, by accepting, or being eligible to accept,
                    distributions under or Reinstatement of such Claim or Interest,
                    as applicable, pursuant to the Plan, shall be deemed to have
                    consented to the injunction provisions set forth in this Article
                    IX.F hereof.


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(Emphasis added).

      22.     The Direct Claims Injunction provision at page 68 of the Plan states:

              The Confirmation Order shall provide that, as of the Effective Date,
              and irrespective of whether any such holder has agreed to be bound
              by the Plan, all holders of Direct Claims and their respective Related
              Parties will be permanently and forever stayed, enjoined, barred, and
              restrained from taking any action, directly or indirectly, for the
              purposes of asserting, enforcing, or attempting to assert or enforce
              any Direct Claim against the Direct Claims Injunction Parties,
              including all of the following actions (collectively, the “Direct
              Claims Injunction”):

              a. commencing or continuing in any manner, any actions or other
              proceedings of any kind with respect to any Direct Claims against
              any of the Direct Claims Injunction Parties or against the property
              of any of the Direct Claims Injunction Parties;

              b. enforcing, levying, attaching, collecting, or otherwise recovering,
              by any manner or means, from any of the Direct Claims Injunction
              Parties, or the property of the Direct Claims Injunction Parties, any
              judgment, award, decree, or order with respect to any Direct Claim
              against any of the Direct Claims Injunction Parties, or any other
              person;

               c. creating, perfecting, or enforcing any lien of any kind relating to
              any Direct Claim against any of the Direct Claims Injunction
              Parties, or the property of the Direct Claims Injunction Parties; and
               d. taking any act, in any manner, in any place whatsoever, that
              does not conform to, or comply with, the provisions of the Plan,
              with respect to any such Direct Claim.

              2. Standing of Direct Claim Injunction Parties.

              Each of the Direct Claims Injunction Parties shall have standing to
              seek relief from the Bankruptcy Court or any court of competent
              jurisdiction for purposes of enforcement of the Direct Claims
              Injunction or other Injunction or releases under the Plan to the extent
              that any act occurs or is taken that is contrary to the provisions of,
              or would interfere with, restrict, defeat, nullify, violate or otherwise
              limit the protections afforded the Direct Claims Injunction Party
              through the Direct Claims Injunction.




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       23.     Clerkenwell submits that the above Plan Injunction and Direct Claim Injunction

provisions may provide injunctive protection to various parties enumerated in those provisions, far

beyond what the Bankruptcy Code otherwise provides. Most concerning to Clerkenwell is that

these provisions, contrary to established law, may be construed to provide an injunction against

Clerkenwell’s post confirmation enforcement of the Guarantee that Amyris provided to

Clerkenwell. Cases in this district and in other districts have found a guarantee to be a non-

executory contract which is not capable of rejection. See, In re Furniture Brands Intl., Inc., 2013

Bankr. LEXIS 5162, at *15 (Bankr. D. Del. Nov. 7, 2013). As such, a non-executory guarantee

that is not enforced during the pendency of a bankruptcy case, would “ride through” the bankruptcy

case, and the holder of the guarantee could enforce the guarantee post confirmation. See, Schlundt,

646 B.R at 487. Any provision of the Plan that provides greater protections than the bankruptcy

code envisions should not be permitted, and as such, the Plan should not be confirmed.

III.   The Debtors Attempt to Effect Substantive Consolidation of the Bankruptcy Cases
       Without Seeking this Extraordinary Relief.

       24.     In the Plan, the Debtors attempt to accomplish the effect of a substantive

consolidation through what they call an “Administrative Consolidation”. They do this because they

are well aware they do not meet the stringent requirements for substantive consolidation.

               Substantive consolidation must not be confused with the related
               procedure of joint administration. Joint administration [which is
               sometimes referred to as administrative consolidation] is a
               procedure by which courts hear two or more related cases of entities
               that have filed bankruptcy petitions as a single case. The purpose of
               joint administration is to make case administration easier and less
               costly. The process has been called a “creature of procedural
               convenience,” because it avoids the duplication of effort that would
               result if cases involving related debtors were to proceed separately.
               The most significant difference between joint administration and
               substantive consolidation is that joint administration requires the
               estate of each debtor to be kept separate and distinct. Joint
               administration does not affect the substantive rights of creditors and



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               other interested parties. Thus, administrative efficiency is achieved
               without sacrificing the parties’ substantive rights. Conversely,
               substantive consolidation affects a merger of the consolidated
               debtors’ estates, which creates a single estate that is recognized
               throughout the remaining bankruptcy process.

               Other significant differences between joint administration and
               substantive consolidation exist. Because only a single estate remains
               after consolidation, interentity [sic] accounts and interentity [sic
               claims are eliminated. Creditors of specific entities no longer can
               look only to the assets of the debtor which they bargained for
               satisfaction of their claims. Rather, creditors of the separated entities
               must look to the assets of the consolidated estate and become
               creditors of the consolidated entity. In joint administration,
               however, the debtors’ estates are separate and interentity [sic]
               claims survive. Further, the creditor of each jointly administered
               entity may look only to the assets of the debtor with which they
               bargained for satisfaction of their claims.

J. Stephen Gilbert, Substantive Consolidation in Bankruptcy: A Primer, 43 Vand. L. Rev. 212-13

(1990) (internal citations omitted).

       25.     In the Plan, the Debtors attempt a merger of the consolidated estates without

seeking substantive consolidation. Section C of the Plan at page 37 states:

               Administrative Consolidation for Voting and Distribution Purposes
               Only.

               On the Effective Date, and solely for voting and administrative
               purposes to facilitate distributions from the Creditor Trust on
               account of Class 8 General Unsecured Claims: (a) all General
               Unsecured Claims shall be deemed merged and treated as
               liabilities of the Debtors on a consolidated basis; (b) each
               General Unsecured Claim will be deemed a single Claim and a
               single obligation of the Debtors; and (c) all General Unsecured
               Claims based on joint and several liability or a guaranty by a
               Debtor of the obligations of any other Debtor shall be deemed
               eliminated and extinguished. For the avoidance of doubt, for the
               purposes of determining the availability of the right of setoff under
               section 553 of the Bankruptcy Code, the Debtors shall be treated as
               separate Entities. Such administrative consolidation is solely for the
               purpose of facilitating distributions to Holders of Allowed General
               Unsecured Claims under this Plan and shall not affect the legal and
               corporate structures of the Reorganized Debtors or the General



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               Unsecured Claims. Moreover, such administrative consolidation
               shall not affect any subordination provisions set forth in any
               agreement relating to any General Unsecured Claim subordinated in
               accordance with section 510(b) of the Bankruptcy Code, any
               contractual rights, or any equitable principles.

(Emphasis Added.) Such merger of the estates of the various Debtors without this Court

approving substantive consolidation, is clearly improper.


       26.     In this Circuit the requirements for substantive consolidation have been clearly

articulated by the Court of Appeals.


               In our Court what must be proven (absent consent) concerning the
               entities for whom substantive consolidation is sought is that (i)
               prepetition they disregarded separateness so significantly their
               creditors relied on the breakdown of entity borders and treated them
               as one legal entity, or (ii) postpetition their assets and liabilities are
               so scrambled that separating them is prohibitive and hurts all
               creditors.
               Proponents of substantive consolidation have the burden of showing
               one or the other rationale for consolidation.


In re Owens Corning, 419 F.3d 195, 211 (3d Cir. 2005).

       27.     Here, the Debtors have not even attempted to meet their burden for substantive

consolidation. Instead of seeking to make the requisite showings, they instead attempt to

improperly merge the estates through “Administrative Consolidation”. Indeed, the creditors have

been adversely affected by this improper merger of estates. If a creditor has a claim with a Debtor

with more assets than other Debtors, they will be injured by this improper consolidation. Similarly,

if a creditor has a claim against more than one Debtor, the creditor will be injured by losing his

additional claims. A Debtor which would otherwise be well capitalized after confirmation, may

find itself undercapitalized because its assets have been used to pay creditors of a totally different




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Debtor. Clearly, the Debtors have not met their burden of proof and should not be permitted to

merge their estates to the potential detriment of creditors.

IV.         Miscellaneous

      28.         In deciding whether to confirm this Plan, there are certain other issues which this

Court should consider:

                  A.        Bankruptcy Code §1129(a)(5)(A)(i) requires that the plan proponent

identify all individuals proposed to serve as officers or directors after confirmation. As previously

mentioned, the Debtors have not identified any officers, and have only identified the directors “to

the extent known”. They have not made a good faith effort to identify officers and directors, and

accordingly have failed to meet the requirements of Bankruptcy Code §1129(a)(5)(A)(i) and

cannot confirm the Plan.

                  B.        The Plan currently provides that if a distribution from the Creditors Trust is

undeliverable, either because of a wrong address or it is too small, the distribution reverts to the

Reorganized Debtor. This is inappropriate because the amount reverting to the Reorganized Debtor

is an asset of the Creditors Trust, and not an asset of the Reorganized Debtors. The undeliverable

amount should revert to the Creditors Trust for redistribution among the beneficiaries of the Trust.

                  C.        It is the essence of the Bankruptcy Code that similarly situated creditors be

treated alike. See, e.g., 11 U.S.C. §§1123(a)(4). Furthermore, since certain classes in the Plan are

deemed to have rejected the Plan, the Plan will need to be confirmed pursuant to Bankruptcy Code

§1129(b), which requires that the Plan not discriminate unfairly. Nonetheless, the Plan fails to treat

all administrative claimants equally. As already demonstrated above, there is a real concern

whether there will be sufficient funds to pay all administrative claims. Yet administrative claimants

who hold claims for professional fees get an advantage by having the funds for their claims




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escrowed on the Effective Date, even though, they have been paid 80% of their fees regularly

during the case. All other administrative claimants, who are still owed 100% of their Claims, are

left to hope that there will be enough money to pay their claims. This is unfair discrimination.

                D.     Many statements in the Plan are confusing, and some may even be untrue.

For example, the exact same treatment is provided for the DIP Claims as is provided for the Foris

Prepetition Secured Claims. Either group can elect to be paid by getting “100% of the New

Common Stock”. It is difficult to see how one group can get 100% of the New Common Stock at

the same time as a different group is getting 100% of the New Common Stock for their Claims.

While there certainly is overlap between the DIP Lenders and the Foris Prepetition Secured

Lenders, there has been no representation that such groups are identical, nor should the

consideration for one class of Claims constitute the consideration for another class of Claims, even

if a Claimant holds Claims in both classes. Similarly, as already pointed out, the organization chart

incorporated into the Plan shows that MG is a subsidiary of the Debtor. This is not true, as MG

has been sold. The Plan should not be confirmed with so many confusing, opaque, and incorrect

statements.

                E.     No specific record date for distributions is specified in the Plan, nor are the

Distribution Dates. This leaves creditors with a great deal of uncertainty as to whether and when

they will be paid. These dates should be specified before the Plan is confirmed.

V. Conclusion

      29.       For all the above reasons, Clerkenwell urges this Court not to confirm the Plan in

its current form.




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                               CERTIFICATE OF SERVICE

       Nicholas J. Brannick certifies that on January 18, 2024, he caused the Objection of 10-11

Clerkenwell Green Limited to Confirmation of Second Amended Joint Chapter 11 Plan of

Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified to be served:

(i) electronically on all CM/ECF participants registered in this case through the Court’s CM/ECF

system at their respective email addresses registered with the Court in accordance with Del. Bankr.

L.R. 5005-4, and (ii) by electronic mail on the notice parties set forth in the Notice of (A) Hearing

to Consider Confirmation of Debtors’ Chapter 11 Plan; (B) Deadline for Voting to Accept or

Rjeect Plan; (C) Debtor’s Releases and Third-Party Release; (D) Deadlines Regarding Third-

Party Release Opt Out Election; and (E) Related Matters [D.I. 946].

                                                      /s/ Nicholas J. Brannick
                                                      Nicholas J. Brannick (No. 5721)
